                                                     EXHIBIT A




                              UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

 In re:                                                   )    Chapter 11
                                                          )
 Squirrels Research Labs LLC, et al.1                     )    Case No. 21- 61491
                                                          )    (Request for Joint Administration Pending)
                           Debtors.                       )
                                                          )    Judge Russ Kendig
             INTERIM ORDER: (I) AUTHORIZING SECURED POSTPETITION
               FINANCING ON A SUPERPRIORITY BASIS PURSUANT TO
              SECTION 364 OF THE BANKRUPTCY CODE; (II) MODIFYING
            THE AUTOMATIC STAY; AND (III) GRANTING RELATED RELIEF

          This matter coming before the Court on the Motion of Debtors (each a “Debtor” and

 collectively, the “Debtors”) for entry of interim and final orders: (i) Authorizing Secured

 Postpetition Financing to Debtor The Midwest Data Company LLC (“MWDC”) on Superpriority

 Basis Pursuant to Section 364 of Title 11 of the United States Code (the “Bankruptcy Code”) and

 the Terms and Conditions of the Interim Order; (ii) Modifying the Automatic Stay Pursuant to



 1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
 number, are: Squirrels Research Labs LLC (9310), case no. 21-61491 and The Midwest Data Company LLC (1213),
 case no. 21-61492.




21-61491-tnap        Doc 3-1       FILED 11/23/21          ENTERED 11/23/21 18:12:50                 Page 1 of 12
 Section 362 of the Bankruptcy Code; (iii) Approving MWDC’s DIP Loan and Security Agreement

 with Instantiation LLC (“Instantiation” or “Lender”); (iv) Setting a Final Hearing; and (v) Granting

 Such Other and Further Relief as this Court Deems Necessary and Proper.

            The court having considered the Motion, and, in accordance with Bankruptcy Rule 4001(c),

 requisite notice of the Motion and the DIP Loan Documents having been provided; and an interim

 hearing to consider approval of the DIP Loan 2 having been held and concluded (the “Interim

 Hearing”); and upon all the pleadings filed with the Court and the record made by the Debtors at

 the Interim Hearing; and it appearing to the Court that the relief requested by the Motion is in the

 best interests of the Debtors and their creditors and is essential for the continued operation of the

 Debtors’ businesses; and after due deliberation and consideration and good and sufficient cause

 appearing therefore:

            IT IS HEREBY FOUND that:

            A.       Debtors filed voluntary petitions for relief under subchapter v of Chapter 11 of the

 Bankruptcy Code on November 23, 2021 (the “Petition Date”), and thereafter Debtors have

 continued in the management and possession of their businesses and property as debtors-in-

 possession.

            B.       This Court has jurisdiction of this matter pursuant to 28 U.S.C. §§ 157 and 1334.

 Venue of the Debtors’ Chapter 11 Cases in this district and division is proper pursuant to 28 U.S.C.

 §§ 1408 and 1409. This is a core proceeding pursuant to 28 U.S.C. § 157(b), in which the Court

 may enter a final order.

            C.       Notice of the Interim Hearing on the Motion is adequate and sufficient under the

 particular circumstances, for purposes of Sections 102(1), 105, 361, and 363 of the Bankruptcy



 2
     Capitalized terms not otherwise defined herein have the meaning ascribed to them in the Motion [Docket #___].

                                                           2


21-61491-tnap           Doc 3-1      FILED 11/23/21          ENTERED 11/23/21 18:12:50                Page 2 of 12
 Code and Rules 2002, 4001, 9007, 9013, and 9014 of the Bankruptcy Rules and other applicable

 law and rules of Court.

        D.      In order to maintain and preserve the assets and to maximize the value of the

 potential sale, MWDC needs to expend funds as set forth in Budget attached hereto as Exhibit A.

        E.      Instantiation is the only lender prepared to provide financing to MWDC.

 Instantiation is willing to advance a loan not to exceed a maximum amount of $350,000 to MWDC

 (the “DIP Loan”) pursuant to the terms of the Debtor in Possession Loan and Security Agreement

 attached as Exhibit B to the Motion (the “Loan Agreement”), and a promissory note in the form

 attached as Exhibit C to the Motion (collectively, the “Loan Documents”), which in general: (i)

 provide financing to MWDC in the amount of $350,000; (ii) allow the Debtors to have the cash

 necessary to operate their businesses; and (iii) grant Instantiation a superpriority administrative

 expense claim; and (iv) grant Instantiation security in MWDC’s Collateral (as defined in the Loan

 Agreement), which security is: (a) subject to a Carve Out (as defined in the Loan Agreement) for

 certain administrative fees and expenses, including fees and expenses for the Debtors’

 professionals and the subchapter v Trustee; and (b) subordinate and junior in right of payment to

 the Avnet Secured Claim.

        F.      The Debtors’ need for financing is immediate. In the absence of the DIP Loan, the

 Debtors would not be able to consummate the proposed sale, and serious and irreparable harm to

 the Debtors and their estates would occur.

        G.      Given the Debtors’ current financial condition, financing arrangements and capital

 structure, the Debtors cannot obtain unsecured credit allowable under Section 503(b)(1) of the

 Bankruptcy Code as an administrative expense. Financing on a post-petition basis is not otherwise

 available without: (i) granting, pursuant to Section 364(c)(1) of the Bankruptcy Code, a claim

 having priority over any and all administrative expenses of the kinds specified in Sections 503(b)
                                                 3


21-61491-tnap     Doc 3-1     FILED 11/23/21       ENTERED 11/23/21 18:12:50           Page 3 of 12
 and 507(b) of the Bankruptcy Code and otherwise; and (ii) securing, pursuant to Section 364(c)

 and (d) of the Bankruptcy Code, such indebtedness and obligations with security interests in and

 liens on the Collateral as provided below and in the Loan Documents.

         H.     The Lender is willing to provide the DIP Loan subject to the conditions set forth

 herein and in the Loan Documents, including, without limitation, execution by MWDC of the

 Promissory Note and Loan and Security Agreement attached the Motion, and pursuant to the

 provisions of this Order, assuring that the Post-Petition Liens (as defined hereinafter) and the

 various claims, superpriority claims and other protections granted pursuant to this Order and the

 DIP Loan will not be affected by any subsequent reversal or modification of this Order or any

 other order which is applicable to the DIP Loan, as provided in Section 364(e) of the Bankruptcy

 Code.

         I.     The proposed DIP Loan is subject to, and Lender is entitled to the benefits of,

 Section 364(e) of the Bankruptcy Code. The terms of the Loan Documents between MWDC and

 Lender pursuant to which the DIP Loan and other credit accommodations may be made or provided

 to Debtor by Lender were negotiated in good faith and at arm’s length, within the meaning of

 Section 364(e) of the Bankruptcy Code, and such terms and agreements are in the best interests of

 the Debtors, their creditors and their estates.

         J.     A critical need exists for MWDC to borrow funds under the provisions of the DIP

 Loan. Without working capital available, the Debtors will be unable to meet the expenses needed

 to preserve and maintain property of the estate and prepare the property for the pending sale in a

 manner that will avoid irreparable harm to the Debtors’ estate and creditors. At this time, the

 Debtors have no ability to finance their operations and insufficient working capital to preserve and

 maintain their businesses.



                                                   4


21-61491-tnap      Doc 3-1     FILED 11/23/21      ENTERED 11/23/21 18:12:50            Page 4 of 12
        K.      The Debtors are unable to obtain replacement financing in the form of unsecured

 credit or unsecured debt allowable under Section 503(b)(1) of the Bankruptcy Code as an

 administrative expense pursuant to Section 364(a) or (b) of the Bankruptcy Code.

 IT IS HEREBY ORDERED:

        1.      The Motion is GRANTED.

        2.      The DIP Loan is hereby approved, and MWDC is expressly authorized, empowered

 and directed to execute and deliver the Loan Documents and all other documents and to perform

 its obligations hereunder and thereunder in accordance with, and subject to, the terms of this Order

 and the DIP Loan. MWDC is hereby authorized and directed to pay the fees and other expenses

 described in the DIP Loan as such become due. Upon execution and delivery of the DIP Loan

 Documents, the DIP Loan shall constitute a valid and binding obligation of MWDC, enforceable

 against MWDC in accordance with its terms.

        3.       From and after the Petition Date through the Termination Date (as defined in the

 Loan Documents) and subject to the terms and conditions of this Order and the DIP Loan, MWDC

 is hereby authorized to borrow funds pursuant to the terms and provisions of the DIP Loan and

 this Order, up to the principal amount of $350,000.

        4.      As security for all loans, advances and any other indebtedness or obligations,

 contingent or absolute, which may now or from time to time hereafter be owing by MWDC to the

 Lender under the Loan Documents or hereunder, including, without limitation, all principal and

 accrued interest, costs, fees and expenses (the “DIP Obligations”) MWDC is hereby authorized

 and directed to grant to the Lender, valid, binding, enforceable and perfected liens (the “DIP

 Liens”) pursuant to Section 364(c)(2) of the Bankruptcy Code as follows: a perfected first-priority

 security interest in and lien against the Collateral (as defined in the Loan Documents) that is: (i)



                                                  5


21-61491-tnap     Doc 3-1     FILED 11/23/21       ENTERED 11/23/21 18:12:50            Page 5 of 12
 subject to the Carve Out; and (ii) subordinate and junior in right of payment to the Avnet Secured

 Claim.

          5.    The automatic stay of Section 362(a) of the Bankruptcy Code shall be, and hereby

 is, modified to the extent necessary to permit Instantiation to receive, collect and apply payments

 and proceeds with respect to the Collateral and to execute and record security agreements and loan

 documents executed in accordance with the terms and provisions of this Order and the DIP Loan.

          6.    The Lender shall have no obligation to make any loan or advance under the DIP

 Loan unless the conditions precedent to the making of such loan or advance set forth in the Loan

 Documents are satisfied.

          7.    Instantiation’s security interests and liens in the Collateral shall: (i) at all times be

 senior to the rights of the Debtors; and (ii) be subordinate only to the Carve Out and Avnet Secured

 Claim. The security interests and liens granted to Instantiation herein shall not be made on a parity

 with, or subordinated to, any other security interest or lien, except as provided in this Order and

 except for valid, perfected and unavoidable prepetition liens, the priority of which shall not be

 changed or affected by this Order. To the extent that they are senior and first priority as of the

 Petition Date, Instantiation’s security interests, liens, and mortgages in the Collateral shall at all

 times remain senior and first priority.

          8.    A “Carve Out” may be taken from the Collateral for: (i) the payment of fees and

 expenses of professionals retained by Debtors up to an aggregate amount not to exceed $150,000;

 (ii) fees payable to the subchapter v trustee up to an aggregate amount not to exceed $50,000; and

 (iii) fees payable to the United States Trustee pursuant to 28 U.S.C. § 1930(a)(6), if any.

          9.    If Instantiation hereafter requests MWDC to execute and deliver to Instantiation

 financing statements or other instruments or documents considered by Instantiation to be necessary

 or desirable to further evidence the perfection of the liens and security interests granted in this
                                                   6


21-61491-tnap      Doc 3-1     FILED 11/23/21        ENTERED 11/23/21 18:12:50             Page 6 of 12
 Order, MWDC is hereby authorized and directed to execute and deliver those financing statements,

 instruments, and documents. Instantiation may, in its sole discretion, file financing statements,

 mortgages, notices of lien or similar instruments or otherwise confirm perfection of such liens,

 security interests, and mortgages without seeking modification of the automatic stay under Section

 362 of the Bankruptcy Code and all such documents shall be deemed to have been filed or recorded

 as of the Petition Date.

        10.      Except for the Carve Out, no costs or expenses of administration that have been or

 may be incurred in these proceedings, or in any conversion of these proceedings pursuant to

 Section 1112 of the Bankruptcy Code or otherwise, or in any other proceedings related thereto,

 and no priority claims are or will be prior to or on a parity with the claims of Instantiation against

 MWDC or any successor debtor in possession or trustee or with the security interests and liens of

 Instantiation upon the Collateral; and except as expressly set forth herein, no such cost or expense

 of administration shall be imposed against Instantiation, its claims or the Collateral.

        11.     During the term of this Order, the Debtors shall provide to Instantiation, the

 subchapter v Trustee, and counsel for the United States Trustee: (i) copies of the monthly operating

 reports filed in these cases; (ii) reasonable priority access to the Debtors’ books, records and

 management personnel; and (iii) such other items as agreed or as required by the Court.

        12.     Nothing contained herein shall create or limit the rights of Instantiation to: (i) seek

 relief from the automatic stay of Section 362 of the Bankruptcy Code at any future time; (ii) request

 a conversion of any or all of the Debtors’ Chapter 11 cases to Chapter 7 or the appointment of a

 trustee or an examiner under Section 1104 of the Bankruptcy Code; or (iii) take any other action

 allowed under the Bankruptcy Code. No stipulations set forth herein shall be binding on any party

 other than the Debtors and any successor Chapter 7 or 11 trustees to the extent legally permissible.



                                                   7


21-61491-tnap      Doc 3-1     FILED 11/23/21       ENTERED 11/23/21 18:12:50              Page 7 of 12
         13. The automatic stay provisions of Section 362 of the Bankruptcy Code are hereby

 modified as to Instantiation to the extent necessary to implement the terms of this Order.

         14.    The Debtors shall not seek or consent to, directly or indirectly: (i) any modification,

 stay, vacation or amendment to this Order; (ii) a priority claim for any administrative expense or

 unsecured claim against the Debtors (now existing or hereafter arising of any kind or nature

 whatsoever, including without limitation any administrative expense of the kind specified in

 Sections 503(b), 506(c) or 507(b) of the Bankruptcy Code) equal or superior to the priority claim

 of the Lender in respect of the Obligations other than the Carve Out; or (iii) any lien on any of the

 Collateral with priority equal or superior to the Postpetition Liens.

         15.    MWDC shall indemnify and hold harmless the Lender and its respective

 shareholders, directors, agents, officers, subsidiaries and affiliates, successors and assigns from

 and against any and all claims, actions and suits, whether groundless or otherwise, and from and

 against any and all liabilities, losses, damages and reasonable expenses of every nature and

 character arising out of the DIP Loan or the transactions contemplated thereby, pursuant to the

 terms of the Loan Documents and as further described therein.

         16.    The provisions of this Order shall be binding upon and inure to the benefit of the

 Lender and the Debtors and their respective successors and assigns (including any trustee or other

 fiduciary hereinafter appointed as a legal representative of the Debtors or with respect to the

 property of the estate of the Debtors) whether in these Chapter 11 Cases, in any subsequent cases

 under Chapter 7 of the Bankruptcy Code or upon dismissal of any such Chapter 11 or Chapter 7

 case.

         17.    Based on the findings set forth in this Order and in accordance with Section 364(e)

 of the Bankruptcy Code, which is applicable to the Loan Documents contemplated by this Order,

 in the event any or all of the provisions of this Order are hereafter modified, amended or vacated
                                                   8


21-61491-tnap      Doc 3-1     FILED 11/23/21       ENTERED 11/23/21 18:12:50            Page 8 of 12
 by a subsequent order of this or any other Court, no such modification, amendment or vacation

 shall affect the validity and enforceability of any Lien or priority authorized or created hereby.

 Notwithstanding any such modification, amendment or vacation, any claim granted to the Lender

 hereunder arising prior to the effective date of such modification, amendment or vacation shall be

 governed in all respects by the original provisions of this Order, and the Lender, as the case may

 be, shall be entitled to all of the rights, remedies, privileges and benefits, including the Postpetition

 Liens and Super Priority Claims granted herein, with respect to any such claim.

         18.     NOTICE IS HEREBY GIVEN that a FINAL hearing is scheduled for

 [December 21, 2021] (the “Final Hearing”) with the Honorable Russ Kendig, United States

 Bankruptcy Judge. The Final Hearing will be conducted telephonically in the Bankruptcy

 Courtroom at the Ralph Regula Federal Building and U.S. Courthouse, 401 McKinley Ave SW,

 Canton, Ohio 44702, Dial In: (888) 684-8852; Access Code: 3303949#.3 Any creditor or other

 party in interest who objects to the entry of a further order on the Motion, or who objects to the

 terms and provisions of a final Order, shall file and serve a written indication of same containing

 a showing of good cause therefor, upon counsel for the Debtors, Instantiation, the Office of the

 United States Trustee, and the subchapter v Trustee not later than [December 14, 2021] with any

 replies due not later than [December 20, 2021].

         19.      The Debtors shall serve a copy of this Order upon the Notice Parties, which shall

 constitute adequate and sufficient notice of the Final Hearing for all purposes under applicable law

 and rules of Court, within two (2) business days after entry of this Order.

                                                       ###



 3
  For further details on telephonic participation, please refer to Judge Kendig’s Notice of Telephonic Hearing
 Procedure, dated March 18, 2020, at https://www.ohnb.uscourts.gov/sites/default/files/memoranda/telephonic-
 hearing-procedure-31820.pdf

                                                          9


21-61491-tnap        Doc 3-1       FILED 11/23/21          ENTERED 11/23/21 18:12:50                 Page 9 of 12
 SUBMITTED BY:

 /s/
 Marc B. Merklin (0018195)
 Julie K. Zurn (0066391)
 Brouse McDowell, LPA
 388 S. Main Street, Suite 500
 Akron, Ohio 44311
 Telephone: (330) 535-5711
 Facsimile: (330) 253-8601
 mmerklin@brouse.com
 jzurn@brouse.com

 Proposed Counsel for Debtors
 and Debtors in Possession




21-61491-tnap    Doc 3-1    FILED 11/23/21   ENTERED 11/23/21 18:12:50   Page 10 of 12
                                     EXHIBIT A
                                      (Budget)




21-61491-tnap   Doc 3-1   FILED 11/23/21   ENTERED 11/23/21 18:12:50   Page 11 of 12
Item                              November      December       January        Line Total
Everstream                        $ 7,000.00    $ 7,000.00     $ 7,000.00     $      21,000.00
Employees                         $ 26,351.00   $ 52,702.03    $ 52,702.03    $     131,755.06
Rent-8050                                       $ 60,886.14    $ 60,886.14    $     121,772.28
Utilities-Grant                                 $ 10,000.00    $ 10,000.00    $      20,000.00
AEP                                             $ 110,000.00   $ 110,000.00   $     220,000.00
Business Ins-Cincinnati                         $ 5,088.00     $ 5,088.00     $      10,176.00
Sub V Trustee*                                                                $      50,000.00
Debtors Professionals*                                                        $     150,000.00
AEP Deposit                                                    $ 25,000.00    $      25,000.00


Total Operating Cost                                                          $    749,703.34
Total to Collect from Customers                 $ 172,130.00   $ 172,130.00   $    344,260.00
Total Shortage                                                                $    405,443.34




 21-61491-tnap      Doc 3-1   FILED 11/23/21    ENTERED 11/23/21 18:12:50         Page 12 of 12
